Case 8:11-cr-00366-JSM-TBM Document 217 Filed 12/13/12 Page 1 of 2 PageID 2323




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                           CASE NO. 8:11-cr-366-T-30TBM

    ROGER LEE SHOSS


                                         ORDER

          THIS CAUSE comes before the Court upon the United States’ Motion for

    Reconsideration of Motion for Final Judgment of Forfeiture (Dkt. #206) and Bank of

    America, N.A.’s Response (Dkt. #213) thereto. Upon review and consideration, the

    Court determines that the Motion (Dkt. #206) should be denied.

          Bank of America, N.A. has shown excusable neglect for not timely asserting

    its mortgage interest in the property. The property is in Texas, and Bank of America

    has a registered agent in Texas, but the Government mailed its notice to a Bank of

    America address in California. The Government found that address on the Mortgage

    Electronic Registration Systems (MERS) internet site.

          The Government addressed its notice to the “Legal Department” at the

    California address. Unfortunately, the address was actually the Bank of America

    Customer Service address. By the time Bank of America files its petition to protect
Case 8:11-cr-00366-JSM-TBM Document 217 Filed 12/13/12 Page 2 of 2 PageID 2324




    its purchase money mortgage interest in the property, its thirty (30) days to do so had

    expired.

             A finding of excusable neglect turns on equitable considerations. Here, the

    Government is not prejudiced by allowing the bank to assert its interest in the

    property (other than losing its windfall gain obtained by the entry of default, of

    course). The Government knew the bank’s interest was from a purchase money

    mortgage, not from proceeds of the criminal activity. And allowing the bank’s

    petition to proceed will not unduly delay the proceedings. The Government’s notice

    was first sent in August of this year, 2012.

             For the above reasons, it is therefore

             ORDERED AND ADJUDGED that the United States’ Motion for

    Reconsideration of Motion for Final Judgment of Forfeiture (Dkt. #206) is DENIED.

             DONE and ORDERED in Tampa, Florida on December 13, 2012.




    Copies furnished to:
    Counsel/Parties of Record
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